         Case 5:25-cv-00917-SSS-SHK                       Document 4            Filed 04/15/25         Page 1 of 2 Page ID
                                                                #:42
AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                      for the
                                                      Central District
                                                  __________  District of
                                                                       of California
                                                                          __________

                                                                        )
ANTHONY WRIGHT, individually; NICOYA WRIGHT, individually; L.W.,
H.W., and A.G., individually by and through their Guardian Ad Litem
                                                                        )
NICOYA WRIGHT;                                                          )
                                                                        )
                            Plaintiff(s)                                )
                                                                        )
                                v.                                              Civil Action No. 5:25-cv-917
                                                                        )
SAN BERNARDINO COUNTY SHERIFF’s DEPARTMENT, a public                    )
entity; SAN BERNARDINO COUNTY, a public entity; SHANNON                 )
DICUS, individually; JAMES WILLIAMS, individually; and DOES 1-10,
individually                                                            )
                                                                        )
                           Defendant(s)                                 )

                                                  SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address)
    SAN BERNARDINO COUNTY SHERIFF’s DEPARTMENT; SAN
    BERNARDINO COUNTY; SHANNON DICUS; JAMES WILLIAMS.
    222 West Hospitality Lane
    San Bernardino, CA 92415

          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                 Christian Contreras, Esq., (SBN 330269)                Sam Harton, Pro Hac Vice forthcoming
                 LAW OFFICES OF CHRISTIAN CONTRERAS                     Romanucci and Blandin, LLC
                 PROFESSIONAL LAW CORPORATION                           321 N. Clark Street, Suite 900
                 360 E. 2nd St., 8th Floor                              Chicago, IL 60654
                 Los Angeles, California 90012                          Tel: 312-253-8632Fax: 312-458-1004
                 Tel: (323) 435-8000; Fax: (323) 597-0101               Email: sharton@rblaw.net
                 Email:CC@Contreras-Law.com
       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                   CLERK OF COURT


Date:
                                                                                               Signature of Clerk or Deputy Clerk
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 Civil Action No.

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           ’ I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           ’ I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           ’ I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           ’ I returned the summons unexecuted because                                                                              ; or

           ’ Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:
